528 F.2d 968
    91 L.R.R.M. (BNA) 2432, 78 Lab.Cas.  P 11,238
    CERTIFIED BUILDING PRODUCTS, INC., and Carl Fidler, anIndividual, Petitioners,v.NATIONAL LABOR RELATIONS BOARD, Respondent.
    No. 74--2777.
    United States Court of Appeals,Ninth Circuit.
    Jan. 23, 1976.
    
      Robert S. Michaels (argued), Michaels, Ornstein &amp; Kontos, Los Angeles, Cal., for petitioners.
      John Depenbrock (argued), NLRB, Washington, D.C., for respondent.
      OPINION
      Before GOODWIN and SNEED, Circuit Judges, and JAMESON,* District Judge.
      PER CURIAM:
    
    
      1
      We allow enforcement of the Board's remedial order in this unfair-labor-practices proceeding under 29 U.S.C. § 158(a)(1) and (5).
    
    
      2
      The only nonfrivolous issue on appeal is whether in personam jurisdiction of Carl Fidler was obtained.  The record supports the Board's finding that the corporation is Fidler's alter ego.  Accordingly, in a board proceeding of this kind, service upon the corporation is the equivalent of service upon the individual.  Fidler was the sole owner and principal actor in the matters giving rise to the complaint.  See N.L.R.B. v. Deena Artware, Inc., 310 F.2d 470 (6th Cir. 1962).
    
    
      3
      The Board will present an appropriate enforcing order upon which a judgment will be entered.
    
    
      4
      Affirmed.
    
    
      
        *
         The Honorable William J. Jameson, United States District Judge for the District of Montana, sitting by designation
      
    
    